        Case 3:22-cv-00257 Document 1 Filed on 07/20/22 in TXSD Page 1 of 5




                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                        GALVESTON DIVISION

KACEY NICOLE WAGNER,                                           §
                                                               §
         plaintiff,                                            §
                                                               §
v.                                                             §        Case 3:22-cv-257
                                                               §
NEWREZ, LLC dba Shellpoint                                     §
Mortgage Servicing,                                            §
                                                               §
         defendant.                                            §

                                   SHELLPOINT'S REMOVAL NOTICE

         NewRez LLC dba Shellpoint Mortgage Servicing (Shellpoint) removes Ms. Wagner's state

court action to this court pursuant to 28 USC §§ 1332 and 1441.

                                      I. STATEMENT OF THE CASE

         1.       On July 5, 2022, Ms. Wagner sued Shellpoint in the case styled Kacey Nicole Wagner

v. Newrez, LLC dba Shellpoint Mortgage Servicing and assigned case 22-CV-1214 in the 212th

district court of Galveston County, Texas. (orig. pet., ex. 1.) She sues to enjoin a July 5, 2022

foreclosure sale of the property at 21 Edgewater Street, Bayou Vista, TX 77563. (Id. at ¶¶ 7, ex. 1.)

         2.       Ms. Wagner claims Shellpoint is not entitled to foreclose for a variety of vague and

conclusory complaints. (Id. at ¶¶ 11-22, 32-39, ex. 1.) Her petition includes references to violations

of RESPA, 12 CFR § 1024, et seq., failure to provide notice of transfer, assignment or sale of the

note, failure to properly manage the loan and the escrow amount, misleading her when applying for

a loan modification and violation of HUD regulations. (Id. at ¶¶ 11-13, 24-26, ex. 1.) She sues for

(1) negligence, (2) violation of the Texas Property Code §51.002, and (3) breach of contract, and

seeks damages, injunctive relief and attorneys' fees. (Id. at ¶¶ 7, 11-29, 31 & prayer, ex. 1.)



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SHELLPOINT'S REMOVAL NOTICE                                                                                    Page 1 of 5
Case 3:22-cv-257; Kacey Nicole Wagner v. Newrez, LLC dba Shellpoint Mortgage Servicing
        Case 3:22-cv-00257 Document 1 Filed on 07/20/22 in TXSD Page 2 of 5




                                    II.      DIVERSITY JURISDICTION

         3.       The court may exercise diversity jurisdiction pursuant to 28 USC § 1332(a) because

the parties are completely diverse and the amount in controversy exceeds $75,000.

A.       The parties are citizens of different states.

         4.       Ms. Wagner is a citizen of Texas, where she resides. (orig. pet. at ¶ 2, ex. 1.); Preston

v. Tenet Healthsystem Mem'l Med. Ctr., 485 F.3d 793, 797–98 (5th Cir. 2007).

         5.       Shellpoint is a citizen of Delaware and New York. Shellpoint is an assumed name of

NewRez LLC, a Delaware limited liability company. The citizenship of a limited liability company

is determined by the citizenship of each of its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d

1077, 1080 (5th Cir. 2008). NewRez LLC has one member: Shellpoint Partners LLC, a Delaware

limited liability company. Shellpoint Partners LLC has two members (1) NRM Acquisition LLC and

(2) NRM Acquisition II LLC, both of which are Delaware limited liability companies. They each

have just one member: New Residential Mortgage LLC, a Delaware limited liability company. New

Residential Mortgage LLC has one member: New Residential Investment Corp., a Delaware

corporation with its principal place of business in New York.

B.       The amount in controversy exceeds $75,000.

         6.       When a defendant removes on the basis of diversity jurisdiction, the amount in

controversy may be established by the specific "good faith" sum demanded by the plaintiff in its state

court petition. 28 USC § 1446(c)(2). If the plaintiff does not state the amount of damages it seeks,

the burden falls on the defendant to prove the value of the plaintiff's claims. St. Paul Reinsurance

Co., Ltd. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998). The removing defendant must "establish

by a preponderance of the evidence that the amount in controversy exceeds $75,000." Manguno v.

Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002). This requirement can be

satisfied if "(1) it is apparent from the face of the petition that the claims are likely to exceed $75,000,
________________________________________________________________________________________________________________________
SHELLPOINT'S REMOVAL NOTICE                                                                                    Page 2 of 5
Case 3:22-cv-257; Kacey Nicole Wagner v. Newrez, LLC dba Shellpoint Mortgage Servicing
        Case 3:22-cv-00257 Document 1 Filed on 07/20/22 in TXSD Page 3 of 5




or, alternatively, (2) the defendant sets forth 'summary judgment type evidence' of facts in controversy

that support a finding of the requisite amount." Id. (citing Simon v. Wal-Mart Stores, Inc., 193 F.3d

848, 850 (5th Cir. 1999); Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995)).

         7.       "In actions seeking declaratory or injunctive relief the amount in controversy is

measured by the value of the object of the litigation." Leininger v. Leininger, 705 F.2d 727, 729 (5th

Cir. 1983); Farkas v. GMAC Mortg., LLC, 737 F.3d 338, 341 (5th Cir. 2013) (per curiam); see also

Nationstar Mortg., LLC v. Knox, 351 Fed. App'x 844, 848 (5th Cir. 2009) ("[w]hen … a right to

property is called into question in its entirety, the value of the property controls the amount in

controversy") (quoting Waller v. Prof'l Ins. Corp., 296 F.2d 545, 547–48 (5th Cir. 1961)).

         8.       The object of this litigation—21 Edgewater Street, Bayou Vista, TX 77563—is

valued at $281,400 by the Galveston Central Appraisal District. (Galveston appraisal dist. report, ex.

6.) See e.g., Anderson v. Wells Fargo Bank, N.A., No. 4:12-cv-764, 2013 WL 1196535, at *3 (E.D.

Tex. Feb. 22, 2013) ("The property at issue in this lawsuit has a current fair market value of $114,000,

according to the Denton County Central Appraisal District. Therefore, Defendant has met its burden

of establishing that the amount in controversy exceeds $75,000.") The amount in controversy exceeds

$75,000, and the court may exercise diversity jurisdiction.

                        III.     PROCEDURAL REQUIREMENTS SATISFIED

         9.       Removal is timely under 28 USC § 1446(b) if it is filed within thirty days of the

defendant's receipt of the complaint and summons. Murphy Bros., Inc. v. Michetti Pipe Stringing,

Inc., 526 U.S. 344, 347–48 (1999) (requiring formal service of process to trigger removal deadline).

Shellpoint has not been formally served with a summons and Ms. Wagner's petition, so this removal

is timely. Venue is proper in this court because the United States District Court for the Southern




________________________________________________________________________________________________________________________
SHELLPOINT'S REMOVAL NOTICE                                                                                    Page 3 of 5
Case 3:22-cv-257; Kacey Nicole Wagner v. Newrez, LLC dba Shellpoint Mortgage Servicing
        Case 3:22-cv-00257 Document 1 Filed on 07/20/22 in TXSD Page 4 of 5




District of Texas embraces the place in which the state court action was pending. 28 USC § 1441(a).

Notice has been sent to the state court regarding this removal.

         10.      A true and correct copy of all of the process, pleadings, and orders on file in the state

court action are attached as exhibits 1-4 pursuant to 28 USC § 1446(a).

                                              IV. CONCLUSION

         The parties are completely diverse, and the amount in controversy exceeds $75,000. This

court may exercise diversity jurisdiction over this action.

Date: July 20, 2022                                            Respectfully submitted,


                                                                  /s/ Michael J. McKleroy, Jr.
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                                                               ATTORNEYS FOR SHELLPOINT
                                                               MORTGAGE SERVICING




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SHELLPOINT'S REMOVAL NOTICE                                                                                    Page 4 of 5
Case 3:22-cv-257; Kacey Nicole Wagner v. Newrez, LLC dba Shellpoint Mortgage Servicing
        Case 3:22-cv-00257 Document 1 Filed on 07/20/22 in TXSD Page 5 of 5




                                        CERTIFICATE OF SERVICE

         A true and correct copy of this document was served on July 20, 2022 as follows:

Robert C. Newark, III
A Newark Firm
1341 W. Mockingbird Lane, Suite 600W
Dallas, Texas 75247
Counsel for Plaintiff
VIA CM/ECF AND
VIA CERTIFIED MAIL RECEIPT
NO. 9414 7266 9904 2186 4864 13
                                                                     /s/ Michael McKleroy, Jr.
                                                               Michael McKleroy, Jr.




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SHELLPOINT'S REMOVAL NOTICE                                                                                    Page 5 of 5
Case 3:22-cv-257; Kacey Nicole Wagner v. Newrez, LLC dba Shellpoint Mortgage Servicing
